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                  EXHIBIT 15
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                                                                        1




 1           UNITED STATES DISTRICT COURT

 2           WESTERN DISTRICT OF NEW YORK

 3

 4          BLACK LOVE RESISTS IN THE RUST, ET AL.,
            INDIVIDUALLY AND ON BEHALF OF A CLASS OF
 5          ALL OTHERS SIMILARLY SITUATED,

 6
                         Plaintiffs,
 7
              -vs-                            1:18-cv-00719-CCR
 8
            CITY OF BUFFALO, N.Y., ET AL.,
 9
                         Defendants.
10

11

12                       EXAMINATION BEFORE TRIAL

13                          OF BYRON LOCKWOOD

14                       APPEARING REMOTELY FROM

15                          BUFFALO, NEW YORK

16

17                          August 10,       2023

18                          At 11:00 a.m.

19                          Pursuant to notice

20

21           REPORTED BY:

22           Rebecca L.      DiBello,       RPR,    CSR(NY)

23          APPEARING REMOTELY FROM ERIE COUNTY,                     NEW YORK




     ~--DEPAOLO CROSBY REPORTING SERVICES, INC.--~
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                                   716-853-5544
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                                                                     2




 1          R E M O T E         A P P E A R A N C E S

 2
            APPEARING FOR THE PLAINTIFFS, BLACK LOVE
 3          RESISTS IN THE RUST, ET AL., INDIVIDUALLY AND
            ON BEHALF OF A CLASS OF ALL OTHERS SIMILARLY
 4          SITUATED:

 5                              NATIONAL CENTER FOR LAW AND
                                ECONOMIC JUSTICE
 6                              BY: CLAUDIA WILNER, ESQ.
                                275 Seventh Avenue, Suite 1506
 7                              New York, New York 10001
                                (212) 633-6967
 8
            APPEARING FOR THE DEFENDANTS,              CITY OF BUFFALO,
 9                et al. :
            N. Y. ,

10                              HODGSON RUSS LLP
                                BY: PETER SAHASRABUDHE, ESQ.
11                              And HUGH RUSS, ESQ.,
                                140 Pearl Street
12                              Buffalo, New York 14202
                                (716) 848-1508
13

14

15
            ALSO PRESENT:       Cheyenne Freeley,           Hodgson Russ
16                              Anjana Malhotra
17

18

19

20

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23




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                                                                          90

     . - - - - - - - - - - - - - - - - B Y R O N LOCKWOOD----------------,


 1              was and I'm just trying to gather the

 2              timeframe.

 3         Q.   Would it be unlawful to pull somebody over for

 4              a pretextual stop because they were Black and

 5              driving on the East Side and failed to signal?

 6                      MR.    SAHASRABUDHE:           Objection to form.

 7         A.   You have a right to pull them over if they

 8              fail to signal and not because of the color of

 9              their skin or of their race.

10         Q.   Can an officer pull them over because of their

11              race and that they failed to signal?

12                      MR.    SAHASRABUDHE:           Objection to form.

13         A.   If he's going to pull them over I'm hoping

14              he's pulling them over because they failed to

15              signal,   not because of their race.

16         Q.   Well,   what if the officer did pull them over

17              because of their race and they failed to

18              signal?

19                      MR.    SAHASRABUDHE:           Objection to form.

20         Q.   Is that lawful?

21                      MR.    SAHASRABUDHE:           Objection to form.

22         A.   You can pull a person over if they fail to

23              signal for the traffic,               but if he just pulled




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